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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


CORY EPPS,

                           Plaintiff,

              -against-

THE CITY OF BUFFALO, DETECTIVE                   Dkt. No. 19-cv-00281
JOHN BOHAN, DETECTIVE
REGINALD MINOR, DETECTIVE
MARK STAMBACH, DETECTIVE
JAMES GIARDINA, DETECTIVE
ANTHONY CONSTANTINO,
DETECTIVE ROBERT CHELLA, AND
RANIERO MASSECHIA,

                          Defendants.




PLAINTIFF’S FURTHER OBJECTIONS TO THE MAGISTRATE JUDGE’S REPORT
       AND RECOMMENDATIONS REGARDING THE DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT
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       Plaintiff Cory Epps (“Epps”) hereby submits this Memorandum of Law in in Reply to

Defendants’ Response (Docket No. 116) and in Further Support of his Objections to the Report

and Recommendations of Magistrate Judge Leslie G, Foschio regarding the Motion for Summary

Judgment filed by the City of Buffalo (“City”), Detective John Bohen (“Bohen”), Detective

Reginald Minor (“Minor), Detective Mark Stambach (“Stambach”), Detective James Giardina

(“Giardina”), and Detective Anthony Constantino (“Constantino”).

I.     NO REASONABLE POLICE OFFICER IN THE SECOND CIRCUIT IN 1998
       WOULD CONCLUDE THAT INFORMATION THAT SOMEONE ELSE
       COMMITTED THE CRIME, WHETHER BASED ON HEARSAY OR NOT,
       COULD BE WITHHELD.

       After Brady v. Maryland, 373 U.S. 83 (1963), no reasonable police officer, following a

criminal defendant’s constitutional rights, would suppress information that someone other than

the accused committed the crime, whether it was initially provided in hearsay form or not. It’s

just obvious. But if a strict “admissibility” rule existed in the Supreme Court or Second Circuit in

1998, which was not the case, Giglio v. United States, 405 U.S. 150 (1972), and Kyles v. Whitely,

514 U.S. 419 (1995), which address use and not technical admissibility, required disclosure of

the alternate perpetrator evidence.

       Even going into the weeds under a narrow view of Brady alone, the R&R and the

Defendants are wrong about Brady’s scope in 1998. Brady never contained a condition that to be

material, exculpatory evidence had to be technically admissible as direct evidence at a trial.

Rather, the touchstone has always been whether the information can be used to affect, or

undermine confidence in, the outcome. The fleeting out-of-circuit cases in the Fourth and

Seventh Circuit about “admissibility” relied upon by Defendants did not change the prevailing

view in the Supreme Court or the Second Circuit. Indeed, these outlier cases did not, even for a




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short time, foreclose the use and thus the need to disclose the alternate perpetrator evidence at

issue.

   a. Obviousness.

         This case is simple at its core. A prior case need not be on point to place a police officer

on notice that his/her conduct is unconstitutional. A circumstance may be so obvious that a

reasonable officer would just know what to do. Taylor v. Rojas, __ U.S. __, 141 S.Ct. 52, 53-54

(2020); Hope v. Pelzer, 536 U.S. 730, 739 (2002). “Of course, in an obvious case, these

standards can ‘clearly establish’ the answer, even without a body of relevant case law.” Brosseau

v. Haugen, 543 U.S. 194, 199 (2004). This is a case where the obviousness doctrine clearly

applies. Neither the R&R nor the Defendants address it.

         Here, Anderson told the police that Russell Montgomery killed Tamika Means, that Epps,

who was about to face trial, did not do it, and that both look alike. The case against Epps was

also remarkably weak. There was only one eyewitness (“not the most satisfying of evidence” as

noted by the trial judge who sentenced Epps in 1998); the identification was made after a

fleeting, stressful gunpoint attack, along with other risk factors commonly understood at the time

to be associated with misidentification; and there was a strong alibi. Montgomery and Epps also

look alike as Anderson said (“eerily similar” to quote the District Attorney who conceded Epps’s

exoneration). See United States v. Bagley, 473 U.S. 667 (1985) (the weaker the case, the more

material the withheld evidence). With these facts, it’s unfathomable to think that a police officer

in the small Buffalo homicide unit in 1998, working on both Montgomery and Epps’s cases, with

pictures of both at them at their fingertips, would think that Anderson’s information could be

brushed under the carpet.

         Qualified immunity depends on what a layperson, not a lawyer or a judge, would think

the law was at the time. See Sinclair v. Goord, No. 07-CV-1317 (LEK)(RFT), 2009 WL
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9056089, at *5 (N.D.N.Y. Mar. 10, 2009). While this can cut in favor of qualified immunity

because non-lawyer state actors should not be required to navigate complex areas of the law to

know how to act, the inverse is also true. In some cases, a reason to withhold information may be

so hidden in the legal weeds that no reasonable officer would ever pick up on it. In this case the

information was clearly exculpatory and clearly helpful to the defense. Only a legal scholar, and

one misinterpreting Brady and its progeny through the prism of erroneous minority out-of-circuit

law (arguably dicta), would be able to conceive an argument that the third-party culpability

evidence may not need to be turned over.

       Qualified immunity asks what a reasonable officer would think. The defense is not

license for police officers to dive into deep legal rabbit holes, conjure flawed legal arguments,

and then hide beyond them to violate someone’s constitutional rights.

   b. Disclosure was clearly required under Giglio and Kyles in 1998, even if a strict
      admissibility rule could be found to have existed then in the Supreme Court or
      Second Circuit.

       The admissibility focus by the Magistrate and Defendants is a red herring. Even if a strict

admissibility rule was followed by the Supreme Court and Second Circuit for materiality under

Brady, which was not the case, impeachment material under Giglio, and information that

impugns the integrity of the police investigation under Kyles, needed to be disclosed before

Epps’s trial. Anderson’s revelation about Montgomery being the true killer is of this ilk.

Undoubtedly, information covered by Giglio and Kyles is not always formally admissible at a

trial—i.e., offered by the defense and accepted into evidence by the trial court in tangible form.

       As raised in Plaintiff’s opening papers, Giglio v. United States addresses

impeachment material, not formally admissible evidence. 405 U.S. 150, 150 (1972). There,

it was the fact of promises made to a witness that he would not be prosecuted if he

cooperated. Thus, it was merely a line of questioning enabled by information that the
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witness had an incentive to lie. Giglio came down over twenty-five years before Epps’s

trial. Similarly, in United States v. Bagley, decided over twelve years before Epps’s trial,

the impeachment material was the possibility of reward to a witness if he testified to the

prosecutor’s satisfaction; the form of the evidence was inquiry on cross-examination. 473

U.S. 667 (1985). Confronting Bradley with the fact that she may have mistaken Epps for

someone else who looked like him would have been an important challenge to her

credibility, and she was the only witness against him.

       The R&R and Defendants do not even mention Giglio, the R&R failed to consider

impeachment material in the analysis, and Defendants merely touch upon impeachment

and give it short shrift. Defendants say: “Despite Epps’s claims that this statement

constituted ‘scathing’ impeachment evidence the reality is that this statement could never

have been used by Epps’s counsel at his trial – either as direct evidence of innocence or for

impeachment.” (Resp. at 13) (emphasis in original). The Defendants’ papers go on to

criticize Plaintiff for failing to explain “how Anderson’s statement actually might have

been used for impeachment,” and argue that any effort to use it after calling Anderson as a

trial witness or on cross-examination of Bradley would be shut down by sustained

objections. (Id.). But this is wrong.

       In opposition to the summary judgment motion, Plaintiff provided an affidavit from

David Cotter, one of his trial counsels, explaining the ways they would have used Anderson’s

information. In the affidavit, Cotter said that if the “information had been provided prior to trial,

as it should have been, we would have done a number of things to utilize it as part of Mr. Epps’

defense.” He then provided a litany, including:

      Requesting a trial continuance to investigate Anderson’s information.



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      Investigating Montgomery, obtaining a picture of him, and comparing it to Epps.

      Urging the prosecution to investigate Montgomery and advocating for dismissal in light
       of Epps’s alibi and the weakness of the case.

      Conducting a background search of Montgomery and speaking to other witnesses who he
       may have also confessed to.

      Showing the sole eyewitness, Jackie Bradley, Montgomery’s photograph before she
       testified, and if she refused to cooperate showing his photo to her on cross-examination.

(Cotter Affidavit, Ex. V. at 2).

       As to the last point, of course defense counsel would have had a good faith basis to show

Montgomery’s photo to Bradley based on Anderson’s statement, and the inquiry should not have

been precluded. United States v. Katsourgrakis, 715 F.2d 769 (2d Cir. 1983); People v. Sorge,

201 N.Y. 189 (1950); People v. DePasquale, 54 N.Y.2d 693 (1981). If counsel had the photo and

confronted Bradley with it, there is every reason to believe that Bradley would have

acknowledged that they looked alike. Montgomery and Epps’s photographs were shown to

Bradley in 2002, three years after Epps’s trial and she said: “I see a definite similarity between

Russell Montgomery and Cory Epps.” (Bradley Affidavit, Ex. W.). Moreover, Epps’s criminal

attorney was allowed to cross-examine Bradley with photos of other suspects that had emerged.

Thus, the argument that a court would not permit the photographic confrontation is incorrect; and

it would have borne fruit.

       Trial counsel for Epps, Andrew LoTempio (now Justice LoTempio), made a pretrial

demand for Brady and Giglio material and asked for “material that provides the defense the

opportunity to make informed decisions regarding the trial strategy,” noting that a prosecutor is

“require[d] to turn over materials specifically requested by the defendant which will help in

cross-examination” and with trial and defense strategies. (Demand, Ex. F.) In addition, he

specifically asked the prosecutor to “[s]tate whether anyone other than the defendant was…

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[q]uestioned or considered a suspect; and [i]f so, state the name of, when, where and by whom

questioned or considered and the crimes for which questioned or considered.” (Id. at 10).

Consequently, trial counsel was very interested in the type of information Anderson provided,

and it is apparent that he would have utilized it effectively had it been turned over.

        Kyles v. Whitley, decided three years before Epps’s trial, not only reiterated the

impeachment rule, but it also held that information that impugns the police investigation should

be disclosed. 514 U.S. 419 (1995). There, withheld inconsistent statements by a witness could

have made him a target for the crime the defendant was accused of. With them, the defense could

have attacked the “thoroughness and even the good faith of the investigation,” and raised “the

remarkably uncritical attitude on the part of the police” toward the witness on which the case

hinged. Id. at 445. The Court noted that even if the defense took “the more conservative course”

and left the witness off the stand, “the defense could have examined the police to good effect on

their knowledge of [the witness’s] statements and so have attacked the reliability of the

investigation in failing even to consider [his] possible guilt and in tolerating (if not

countenancing) serious possibilities that incriminating evidence had been planted [by the

witness].” Id. at 446 (parentheses, not brackets, in original). Certainly, had Epps’s counsel

known about Anderson’s statement, the fact of it and the police failure to investigate

Montgomery as the killer would have been an effective challenge to the quality of the police

work.

        Here, the police did absolutely nothing even though the mere comparison of Montgomery

and Epps’s photos would have broken open the case. Obviously, a challenge to the police’s lack

of work or concern about finding the truth could have been made with a cursory investigation




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and with questions of police witnesses based on Anderson’s “hearsay” account, and without

admitting any formal evidence.

       The R&R and Defendants’ narrow focus on admissible evidence does not let the police

off the hook, and qualified immunity can offer no defense in this case.

   c. The view in other Circuits about admissibility being needed for materiality did not
      apply in the Supreme Court or the Second Circuit in 1998

       It is the law in the Supreme Court and the Circuit where the alleged constitutional

violation occurred that controls. See Luna v. Pico, 356 F.3d 481, 490 (2d Cir. 2004). Even if we

ignore Giglio and Kyles and view the issue though the myopic lens used by the R&R and

Defendants, the law in the Supreme Court and the Second Circuit still could not have caused a

reasonable police officer in Buffalo in 1998 to believe that Anderson’s statement could be

withheld.

       Brady v. Maryland does not require technical admissibility as a perquisite for materiality.

Bagley, decided in 1985, speaks of effective use of the information and does not suggest a limit

to admissible evidence. Likewise, Kyles considered how “competent counsel” would have used

the information to make “a different result reasonably probable.” Thus, it was always the impact

of the information on the trial, not formal admissibility. Defendants home in on Wood v.

Bartholomew, as the catalyst for the Circuit split. 516 U.S.1 (1995). They say it “left open the

question of whether some inadmissible evidence might still be Brady material under certain

circumstances, or whether inadmissible evidence is per say non-Brady material.” (Resp. at 15).

But this is misleading. In, Dennis v. Sec'y, Pennsylvania Dep't of Corr., a case cited by

Defendants, puts it aptly. 834 F.3d 263 (3d Cir. 2016). There, applying AEDPA on habeas

review the Third Circuit found that the “Pennsylvania Supreme Court's characterization of

admissibility as dispositive under Brady was an unreasonable application of, and contrary to,


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clearly established law as defined by the United States Supreme Court.” Id. at 307. This was a

reference to the state of Supreme Court law in 1991. Dennis emphasized that admissibility was

never the law in the Supreme Court and stated that the “holding in Wood compels the opposite

conclusion.” It went on to note that:

       [T]he Wood Court analyzed the effect of suppressing the polygraph results,
       despite their uncontroverted inadmissibility. After acknowledging their
       inadmissibility, the Wood Court proceeded to examine whether, if disclosed, the
       results would have led to the discovery of evidence that would have influenced
       the course of trial, including pre-trial preparations. See Wood, 516 U.S. at 7, 116
       S.Ct. 7 (considering whether trial counsel would have prepared differently given
       the results, though ultimately concluding that disclosure would not have resulted
       in a different outcome). The Supreme Court's decision to continue its inquiry in
       light of wholly inadmissible alleged Brady material is telling. As the District
       Court aptly observed, “[i]f inadmissible evidence could never form the basis of a
       Brady claim, the Court's examination of the issue would have ended when it noted
       that the test results were inadmissible.” (cite omitted).

Dennis, at 3081 (emphasis in original).

       United States v. Pflaumer is also worth mentioning. 473 U.S. 922, 922 (1985). There, the

Supreme Court remanded without opinion for further consideration in light of Bagley when a

Seventh Circuit appeals court stated that “[i]n order to be material, evidence suppressed must


1
 There is a different context to the term “clearly established” law under AEDPA and for
qualified immunity purposes because the latter deals with what a layperson would think, not
necessarily what the law is at a given point in time. But it is certainly significant that the Third
Circuit considered Supreme Court precedent to be “clearly established” for jurists in 1991, seven
years before Epps’s trial, and despite the minority view in the Fourth and Seventh Circuits. As
Dennis explained:

       The United States Supreme Court has made no such express reservations when it
       comes to Brady materiality or an admissibility requirement. Consequently, to the
       extent that language from our sister circuits might be read to recognize a general
       admissibility requirement in Brady, we respectfully conclude that they have erred.
       Discrepancies as to the interpretation of Wood ought not to substantiate the
       Pennsylvania Supreme Court's erroneous application of the Brady materiality
       standard in this case.

Dennis, at 310, fn 27.

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have been admissible at trial.” Obviously, the Supreme Court would not have done this if the

Seventh Circuit was right.

       Of course, the Supreme Court has been consistent all along and Wood simply reinforces

the notion that admissibility was not a critical component of Brady. But more to the point at

hand, there is nothing to demonstrate that the erroneous view of Brady taken by the Fourth and

Seventh Circuits contaminated the thinking in the Second Circuit such that a reasonable police

officer would draw from these outsiders’ wrong view.2

       The fact that Gil, the pivotal Second Circuit case for the R&R, acknowledges noise in

one circuit—it cites “but see Hoke v. Netherland, 92 F.3d 1350, 1356 n. 3 (4th Cir.1996) (ruling

that inadmissible evidence, as a matter of law, is “immaterial” for Brady purposes)”—does not

mean that before Gil the Second Circuit accepted a minority view that was based on a flawed and

overly restrictive understanding of Brady. United States v. Gil, 297 F.3d 93 (2d Cir. 2002).

Indeed, bringing the analysis to this place would cause the rule that qualified immunity is




2
  Although the Defendants talk about a “circuit split,” it was only two Circuits, the Fourth and
the Seventh, that had the mistaken view of Brady. And in 1998, before Epps’s trial, it was
primarily the Fourth Circuit’s 1996 decision in Hoke v. Netherland, 92 F.3d 1350, 1356 n. 3 (4th
Cir.1996). Gil only mentions Hoke. Jardine v. Dittman,658 F.3d 772 (7th Cir. 2011), the
Seventh Circuit case cited by Defendants (Resp. 15), was decided in 2011. References to a split
did not emerge until Ellsworth in 2003, and that case merely cites Hoke for the so-called split.
Ellsworth v. Warden, 333 F.3d 1 5, fn. 4 (1st Cir. 2003).

Defendants also pull the following quote from Beaman v. Freesmeyer, 776 F.3d 500, 510 (7th
Cir. 2015) (Resp. at 16, fn. 2): “The question of whether and when inadmissible evidence can be
Brady material remains an open question in many jurisdictions today.” But this statement was
made in 2015 and does not address the state of the law in 1998.




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governed by what the law is in the Supreme Court and the local Circuit at the time to have no

practical effect.

        Quite clearly, Gil does not suggest that it is laying down a rule in the Second Circuit that

did not otherwise exist. (Resp. at 15). It cites to numerous cases for the proposition that

information that “could lead to admissible evidence [or]… be an effective tool in disciplining

witnesses during cross-examination by refreshment of recollection or otherwise” is Brady

material, and draws from cases before 1998 and one as early as 1967, to make the point. Gil at

104 (citing Spence v. Johnson, 80 F.3d 989 (5th Cir.1996), and United States v. Gleason, 265

F.Supp. 880 (S.D.N.Y.1967)). It is quite a stretch indeed, to find that Gil’s cite to Hoke as a “but

see,” means that a reasonable police officer in 1998 would think that the alternate perpetrator

evidence could be withheld because it might have been inadmissible.3


3
  The comment in Miller v. Angliker, 848 F.2d 1312 (2d Cir. 1988), that the alternate perpetrator
evidence “would have been admissible,” noted by Defendants (Resp. at 17), does not necessarily
mean that admissibility is a requirement. In any event there is context to this comment. After
conviction, it surfaced that the police and the prosecutor had information that someone else may
have committed some of the murders Miller pled guilty to. Declining to find a Brady violation,
the trial court relied on the third-party culpability doctrine and the need for “evidence which
directly connects that third party with the crime” Miller, at 1317. Reversing, the Second Circuit
relied on the constitutional right to present a defense and to due process of law, citing federal law
and Connecticut law – Taylor v. Illinois, 484 U.S. 400 (1988), Pennsylvania v. Ritchie, 480 U.S.
39 (1987), and State v. Bryant, 202 Conn. 676, 688 (1987). Bryant points to Chambers v.
Mississippi, 410 U.S. 284 (1973), where the Court reversed for the failure to admit a declaration
against penal interest, despite a state law that precluded it. Thus, at bottom Miller underscores
the “right to present a defense” and the need to admit reliable hearsay, despite overly restrictive,
technical evidentiary rules that unfairly interfere with a viable defense. As argued in Plaintiff’s
opening brief, Anderson’s statement would have passed a reliability test and could have been
admitted under New York’s constitutional exception to the hearsay rule. (Obj. at 15, fn. 3).

Prior to Epps’s trial, the New York State Court of Appeal in People v. Robinson, 89 N.Y.2d 648,
654 (1997), rested on constitutional principles of due process to permit a criminal defendant to
introduce grand jury testimony of an unavailable witness, even though it did not fall within a
recognized hearsay exception. People v. James, 242 A.D.2d 389, 389 (2d Dept. 1997) (same);
see also People v. Esteves, 152 A.D.2d 406, 413 (2d Dept 1989) (there is authority for finding
that the exclusion of exculpatory hearsay statements may result in the denial of the defendant's
right to a fair trial, in violation of due process, where the statement was critical to the defendant's
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       Contrary to Defendant’s argument, none of the out-of-Circuit cases suggest that Gil was a

turning point in the Second Circuit. Dennis does not even mention Gil. United States v. Morales,

746 F.3d 310, 314 (7th Cir. 2014), another case relied upon by Defendants that could mark a

turning point in the Seventh Circuit to the correct side, cites Gil but not as if it were a watershed

moment in the Second Circuit. It merely says that “[t]he First, Second, Third, Sixth, and

Eleventh Circuits have not read Brady so narrowly” before citing Gil. Nor does Ellsworth, a First

Circuit case cited by Defendants, indicate that the Second Circuit was operating under a

misunderstanding of Brady before Gil. (Resp. at 15). Ellsworth just states that “[m]ost circuits

addressing the issue have said yes [it’s Brady] if the withheld evidence would have led directly

to material admissible evidence,” and in a footnote cites to Gil as “See, e.g.,” Ellsworth, at 5, fn.

4 (brackets added). Silence from the Second Circuit prior to Gil does equal law. And an

argument based on law by omission should not carry the day in a qualified immunity analysis.4

       Even if the faint cry of Hoke was the litmus test for the Second Circuit in 1998, Hoke did

not go so far as to say that all inadmissible exculpatory evidence can be withheld. In Hoke, the




defense and bore substantial assurances of trustworthiness, albeit it was not admissible upon the
basis of any exception recognized by the State's rules of evidence.”).

Here, had trial counsel known about Montgomery’s confession, he would have investigated it,
made a compelling case of reliability, and he should have been permitted to offer it as a
declaration against penal interest despite the extra layer of hearsay. Montgomery looks like Epps
and meets the description better than Epps with pock marks on his face; both frequented the
same bars; Montgomery lived in the area of the murder; and, he killed Pope to silence him about
his admission to the Means’s murder. And of course, Pope was dead and thus unavailable due to
Montgomery’s illegal conduct.
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  In fact, Ellsworth says that “given the policy underlying Brady, we think it plain [emphasis
added] that evidence itself inadmissible could be so promising a lead to strong exculpatory
evidence that there could be no justification for withholding it. Wood v. Bartholomew, 516 U.S.
1, 6–8, 116 S.Ct. 7, 133 L.Ed.2d 1 (1995), implicitly assumes this is so.” Ellsworth, at 5, fn. 4
(emphasis on “could” in original).

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evidence at issue was prior instances of sex with rape victim. Not only were they barred under

Virginia’s rape shield law but were irrelevant to the defense. This is the holding: “That [the

victim] previously had sexual intercourse with [other men] is arguably altogether irrelevant, but

at the very least is not material, to whether she consented to have sex with Hoke on the night of

the murder. There is, in our judgment, no chance at all that the outcome of Hoke's capital murder

trial would have been different had the defense known of these prior incidents of sexual

intimacy.” Hoke, at 1357. This focuses on the impact of the evidence, which Brady, Giglio,

Bagley and Kyles teach, not on formal admissibility. The passing statement in a footnote in Hoke

that Defendant’s position stems from is:

         As even Hoke's counsel acknowledged, J.A. at 1191, these statements may well
         have been inadmissible at trial under Virginia's Rape Shield Statute, and
         therefore, as a matter of law, “immaterial” for Brady purposes. See Wood v.
         Bartholomew, 516 U.S. 1, ––––, 116 S.Ct. 7, 10, 133 L.Ed.2d 1 (1995).

Hoke, at 1356, fn. 3. This does not mean that all technically inadmissible evidence and that

which can be used effectively by the defense is not Brady, and to the extent that it can say this it

is dicta.

         In sum, for a variety of reasons, the R&R and Defendants’ hyper-focus on technical

admissibility in the Brady materiality analysis does not raise a plausible qualified immunity

defense. The question is whether a reasonable officer would have known to disclose it (they

would), and whether Epps’s criminal attorney could have made use of it at trial (he could have).

Admissibility is, and was in 1998, not dispsotivet.

II.      THE RULE THAT THE GOVERNMENT IS NOT REQUIRED TO TAKE NOTES
         DURING WITNESS INTERVIEWS DOES NOT MEAN THAT ANDERSON’S
         INFORMATION ABOUT MONTGOMERY BEING THE TRUE KILLER IS NOT
         BRADY.

         The R&R and Defendants’ reliance on United States v. Rodriguez, 496 F.3d 221, 224-225

(2d Cir. 2007), is unavailing. Although Rodriguez stands for the basic proposition that the
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government is not required to take notes during witness interviews, it explicitly states that lies

that can impugn a witness's credibility do have to be disclosed even if not memorialized in notes.

Id. at 226 (“If the district court's reason for declining to compel the Government to make

disclosure was that the lies were not set forth in any document or recording (‘I have never seen

anything that says the government has to turn over oral information.’), we disagree.”).

       Of course, Anderson’s revelation that Montgomery admitted to killing Means had great

exculpatory value, and it had to be provided under Brady whether recorded by the police or not.

Nor was this a “mere failure to write down or take notes,” a fleeting reference to an unrelated

case, or a speculative piece of useless information, as Defendants innocently describe it. (Resp.

18-20). The narrative here is that the police hid the information because they knew it was

important to Epps’s defense, and that they did nothing to investigate it. There can be no doubt

that had Epps’s able trial counsel known about it, they would have investigated it and discovered

how similar Epps and Montgomery looked, and that with Montgomery’s pock marks he matched

Bradley’s description of the shooter more than Epps, and they would have used this information

in a number of ways, including advocating for dismissal, and confronting Bradley with it.

III.   DEFENDANTS CONTINUED ATTEMPTS TO DISTORT EPPS’ DUE PROCESS
       CLAIMS SHOULD BE REJECTED.

       Epps is not claiming that the officers fabricated their affidavits, used in the CPL § 440

proceedings, before Epps’s trial. This fabrication, clear from the record, came afterwards, and no

motion to amend the pleadings to add such a claim is necessary. Similarly, Epps is not claiming

that Defendants are liable for their post-trial hearing testimony. Rather, they are liable for what

they told the prosecutors, memorialized in their affidavits, months before they ever testified. See

Coggins v. Buonora, 776 F.3d 108, 112–13 (2d Cir. 2015) (explaining how dangerous it would




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be to allow officers to immunize themselves from liability for making false statements simply by

later repeating the same statements to a jury).

       Epps’s claim here is not complicated. He had a due process right to a fair § 440

proceeding. Defendants Stambach, Giardina, and Costantino violated that right when they falsely

told the prosecutors that Anderson had not told them about Montgomery until after Epps was

convicted. These statements were memorialized in affidavits, and they were the reason that these

same Defendants were called to the stand, by the prosecution, to testify to the same fabrications.

If Defendants had told the truth, the § 440 hearing would have been entirely different, and a jury

here could find that Epps would have been released years earlier. That is the claim. Defendants

are now asking this Court to find that lies like these do not violate Epps’s right to due process,

simply because they lied in post-trial proceedings, rather than after his conviction. This is not,

and cannot be, the law. Epps had a right to a fair prosecution at every stage of the proceedings.

       Criminal defendants have a liberty interest, and due process rights, in fair § 440 hearings.

See Newton v. City of New York, 779 F.3d 140, 150 (2d Cir. 2015) (finding that § 440 creates a

liberty interest); see also Ramchair v. Conway, 601 F.3d 66, 74 (2d Cir. 2010) (explaining that

there is a due process right to adequate appellate counsel). Unsurprisingly, at every post-trial

hearing where a criminal defendant has a liberty interest, they have a right to only face truthful

evidence and testimony at that hearing. For example, in Victory v. Pataki, the Second Circuit

found that there was a viable cause of action for fabrications in a parole hearing, even though the

parole commissioner was entitled to absolute immunity for his later quasi-judicial conduct at that

hearing. 814 F.3d 47, 66 (2d Cir. 2016), as amended (Feb. 24, 2016). If the claims in Victory can

go forward, the claims here can go forward, and Defendants do not have a single case that




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relieves them from their obligation to tell the truth to the prosecution, before or after a criminal

trial.

         Defendants’ reliance on Howard v. City of Durham is misplaced because the case

strongly supports Epps’s position here, not theirs. 68 F.4th 934 (4th Cir. 2023). There, the Fourth

Circuit recognized that state law created a post-trial liberty interest, and that this right may

“beget yet other rights to procedures essential to the realization of the parent right.” Id. at 947

(quoting Dist. Attorney's Off. for Third Jud. Dist. v. Osborne, 557 U.S. 52, 68 (2009)). To protect

North Carolina’s right to post-conviction Brady material, the Fourth Circuit found an obligation

to truthfully disclose such information to the prosecutor. Id. at 947-48. The right here is slightly

different; Epps claims that detectives must tell the truth, while Howard only requires good faith

disclosure. But in practice there is little difference. The right to a hearing “begets” a right to the

truth.

IV.      THE STATE LAW CONSTITUTIONAL CLAIMS AGAINST THE CITY OF
         BUFFALO SHOULD BE ALLOWED TO GO FORWARD.

         As stated in the initial Opposition to the R&R, the claims under the New York State

Constitution should go forward to trial, particularly given that Epps’s federal claims should also

go forward to trial. And the one case Defendants cited that suggests theses state law claims

should be dismissed is inapposite. The New York Court of Appeals did uphold dismissal of

claims under the State Constitution in Martinez v. City of Schenectady, but there the plaintiff was

caught with illegal drugs and the court rightfully found that excluding the evidence and

dismissing the criminal prosecution was enough of a benefit—making a further award of

monetary damages unnecessary. 97 N.Y.2d 78, 83 (N.Y. 2001). Epps is innocent, and a damages

award will help make him whole; he was not, like the plaintiff in Martinez, actually guilty but




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relieved of liability—an exceptional benefit—due to defects in a warrant. Here, there may be no

remedy for the egregious harm, but for the State constitutional claims.

                                        CONCLUSION

       For the further reasons stated above, the Magistrate Judge’s recommendations regarding

the claims raised herein should not be followed, and these claims should advance to trial.

Dated: New York, New York
       August 28, 2023

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